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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Kikue Ota, in individual and              Act; Unruh Civil Rights Act
       representative capacity as trustee of
15     the Kikue Ota Living Trust;
       Restaurante Juquila Inc., a
16     California Corporation

17               Defendants.

18
19         Plaintiff Brian Whitaker complains of Kikue Ota, in individual and

20   representative capacity as trustee of the Kikue Ota Living Trust; Restaurante

21   Juquila Inc., a California Corporation; and alleges as follows:

22
23     PARTIES:

24     1. Plaintiff is a California resident with physical disabilities. He is

25   substantially limited in his ability to walk. He suffers from a C-4 spinal cord

26   injury. He is a quadriplegic. He uses a wheelchair for mobility.

27     2. Defendant Kikue Ota, in individual and representative capacity as

28   trustee of the Kikue Ota Living Trust, owned the real property located at or


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 1   about 11619 Santa Monica Blvd, Los Angeles, California, in November 2020.
 2     3. Defendant Kikue Ota, in individual and representative capacity as
 3   trustee of the Kikue Ota Living Trust, owns the real property located at or
 4   about 11619 Santa Monica Blvd, Los Angeles, California, currently.
 5     4. Defendant Restaurante Juquila Inc. owned Juquila Restaurant located
 6   at or about 11619 Santa Monica Blvd, Los Angeles, California, in November
 7   2020.
 8     5. Defendant Restaurante Juquila Inc. owns Juquila Restaurant
 9   (“Restaurant”) located at or about 11619 Santa Monica Blvd, Los Angeles,
10   California, currently.
11     6. Plaintiff does not know the true names of Defendants, their business
12   capacities, their ownership connection to the property and business, or their
13   relative responsibilities in causing the access violations herein complained of,
14   and alleges a joint venture and common enterprise by all such Defendants.
15   Plaintiff is informed and believes that each of the Defendants herein is
16   responsible in some capacity for the events herein alleged, or is a necessary
17   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
18   the true names, capacities, connections, and responsibilities of the Defendants
19   are ascertained.
20
21     JURISDICTION & VENUE:
22     7. The Court has subject matter jurisdiction over the action pursuant to 28
23   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
24   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
25     8. Pursuant to supplemental jurisdiction, an attendant and related cause
26   of action, arising from the same nucleus of operative facts and arising out of
27   the same transactions, is also brought under California’s Unruh Civil Rights
28   Act, which act expressly incorporates the Americans with Disabilities Act.


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 1     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 2   founded on the fact that the real property which is the subject of this action is
 3   located in this district and that Plaintiff's cause of action arose in this district.
 4
 5     FACTUAL ALLEGATIONS:
 6     10. Plaintiff went to the Restaurant in November 2020 with the intention to
 7   avail himself of its goods and to assess the business for compliance with the
 8   disability access laws.
 9     11. The Restaurant is a facility open to the public, a place of public
10   accommodation, and a business establishment.
11     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
12   to provide wheelchair accessible dining surfaces in conformance with the ADA
13   Standards as it relates to wheelchair users like the plaintiff.
14     13. The Restaurant provides dining surfaces to its customers but fails to
15   provide any wheelchair accessible dining surfaces.
16     14. One problem that plaintiff encountered is the lack of sufficient knee or
17   toe clearance under the dining surfaces out front for wheelchair users.
18     15. Plaintiff believes that there are other features of the dining surfaces that
19   likely fail to comply with the ADA Standards and seeks to have fully compliant
20   dining surfaces for wheelchair users.
21     16. On information and belief, the defendants currently fail to provide
22   wheelchair accessible dining surfaces.
23     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
24   personally encountered these barriers.
25     18. As a wheelchair user, the plaintiff benefits from and is entitled to use
26   wheelchair accessible facilities. By failing to provide accessible facilities, the
27   defendants denied the plaintiff full and equal access.
28     19. The failure to provide accessible facilities created difficulty and


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 1   discomfort for the Plaintiff.
 2     20. Even though the plaintiff did not confront the following barriers, there
 3   are unramped steps leading from inside the Restaurant to the back dining area.
 4   The restroom door hardware has a traditional round knob handle.
 5   Additionally, the restroom doorway clear passage width and toilet stall are too
 6   narrow. There are no toilet grab bars. Moreover, the restroom mirror and
 7   disposable toilet seat cover dispenser are too high. There is no clear floor space
 8   in front of the disposable toilet seat cover dispenser because it is mounted on
 9   the wall behind the toilet. Finally, the restroom sink does not provide any knee
10   clearance. Plaintiff seeks to have these barriers removed as they relate to and
11   impact his disability.
12     21. The defendants have failed to maintain in working and useable
13   conditions those features required to provide ready access to persons with
14   disabilities.
15     22. The barriers identified above are easily removed without much
16   difficulty or expense. They are the types of barriers identified by the
17   Department of Justice as presumably readily achievable to remove and, in fact,
18   these barriers are readily achievable to remove. Moreover, there are numerous
19   alternative accommodations that could be made to provide a greater level of
20   access if complete removal were not achievable.
21     23. Plaintiff will return to the Restaurant to avail himself of its goods and to
22   determine compliance with the disability access laws once it is represented to
23   him that the Restaurant and its facilities are accessible. Plaintiff is currently
24   deterred from doing so because of his knowledge of the existing barriers and
25   his uncertainty about the existence of yet other barriers on the site. If the
26   barriers are not removed, the plaintiff will face unlawful and discriminatory
27   barriers again.
28     24. Given the obvious and blatant nature of the barriers and violations


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 1   alleged herein, the plaintiff alleges, on information and belief, that there are
 2   other violations and barriers on the site that relate to his disability. Plaintiff will
 3   amend the complaint, to provide proper notice regarding the scope of this
 4   lawsuit, once he conducts a site inspection. However, please be on notice that
 5   the plaintiff seeks to have all barriers related to his disability remedied. See
 6   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 7   encounters one barrier at a site, he can sue to have all barriers that relate to his
 8   disability removed regardless of whether he personally encountered them).
 9
10   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
11   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
12   Defendants.) (42 U.S.C. section 12101, et seq.)
13     25. Plaintiff re-pleads and incorporates by reference, as if fully set forth
14   again herein, the allegations contained in all prior paragraphs of this
15   complaint.
16     26. Under the ADA, it is an act of discrimination to fail to ensure that the
17   privileges, advantages, accommodations, facilities, goods and services of any
18   place of public accommodation is offered on a full and equal basis by anyone
19   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
20   § 12182(a). Discrimination is defined, inter alia, as follows:
21             a. A failure to make reasonable modifications in policies, practices,
22                or procedures, when such modifications are necessary to afford
23                goods,     services,     facilities,   privileges,    advantages,      or
24                accommodations to individuals with disabilities, unless the
25                accommodation would work a fundamental alteration of those
26                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
27             b. A failure to remove architectural barriers where such removal is
28                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are


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 1                defined by reference to the ADA Standards.
 2            c. A failure to make alterations in such a manner that, to the
 3                maximum extent feasible, the altered portions of the facility are
 4                readily accessible to and usable by individuals with disabilities,
 5                including individuals who use wheelchairs or to ensure that, to the
 6                maximum extent feasible, the path of travel to the altered area and
 7                the bathrooms, telephones, and drinking fountains serving the
 8                altered area, are readily accessible to and usable by individuals
 9                with disabilities. 42 U.S.C. § 12183(a)(2).
10     27. When a business provides facilities such as dining surfaces, it must
11   provide accessible dining surfaces.
12     28. Here, accessible dining surfaces have not been provided in
13   conformance with the ADA Standards.
14     29. When a business provides paths of travel, it must provide accessible
15   paths of travel.
16     30. Here, accessible paths of travel have not been provided in conformance
17   with the ADA Standards.
18     31. When a business provides facilities such as restrooms, it must provide
19   accessible restrooms.
20     32. Here, accessible restrooms have not been provided in conformance with
21   the ADA Standards.
22     33. The Safe Harbor provisions of the 2010 Standards are not applicable
23   here because the conditions challenged in this lawsuit do not comply with the
24   1991 Standards.
25     34. A public accommodation must maintain in operable working condition
26   those features of its facilities and equipment that are required to be readily
27   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
28     35. Here, the failure to ensure that the accessible facilities were available


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 1   and ready to be used by the plaintiff is a violation of the law.
 2
 3   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 4   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 5   Code § 51-53.)
 6      36. Plaintiff repleads and incorporates by reference, as if fully set forth
 7   again herein, the allegations contained in all prior paragraphs of this
 8   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 9   that persons with disabilities are entitled to full and equal accommodations,
10   advantages, facilities, privileges, or services in all business establishment of
11   every kind whatsoever within the jurisdiction of the State of California. Cal.
12   Civ. Code §51(b).
13      37. The Unruh Act provides that a violation of the ADA is a violation of the
14   Unruh Act. Cal. Civ. Code, § 51(f).
15      38. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
17   rights to full and equal use of the accommodations, advantages, facilities,
18   privileges, or services offered.
19      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
20   discomfort or embarrassment for the plaintiff, the defendants are also each
21   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
22   (c).)
23
24             PRAYER:
25             Wherefore, Plaintiff prays that this Court award damages and provide
26   relief as follows:
27           1. For injunctive relief, compelling Defendants to comply with the
28   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the


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 1   plaintiff is not invoking section 55 of the California Civil Code and is not
 2   seeking injunctive relief under the Disabled Persons Act at all.
 3       2. Damages under the Unruh Civil Rights Act, which provides for actual
 4   damages and a statutory minimum of $4,000 for each offense.
 5       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 6   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 7
     Dated: November 25, 2020         CENTER FOR DISABILITY ACCESS
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10
                                      By: _______________________
11
                                             Russell Handy, Esq.
12                                           Attorney for plaintiff
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